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                              EXHBIT A




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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    Zohar III, Corp., et al.1                                  Case No. 18-10512 (KBO)

                     Debtors.                                  Jointly Administered



    LYNN TILTON, PATRIARCH PARTNERS
    VIII, LLC, PATRIARCH PARTNERS XIV,
    LLC, PATRIARCH PARTNERS XV, LLC,
    OCTALUNA, LLC; OCTALUNA II, LLC,
    AND OCTALUNA III, LLC,

                     Appellant,

                             v.                                Civil Action No. 22-cv-400

                                                               Bankruptcy Adv. Proc. No. 19-50390 (KBO)
    MBIA INC., MBIA INSURANCE
    CORPORATION, U.S. BANK, N.A.,
    ALVAREZ & MARSAL ZOHAR
    MANAGEMENT, CREDIT VALUE
    PARTNERS, LP, BARDIN HILL
    INVESTMENT PARTNERS F/K/A
    HALCYON CAPITAL MANAGEMENT LP,
    COÖPERATIEVE RABOBANK U.A.,
    VÄRDE PARTNERS, INC., ASCENSION
    ALPHA FUND LLC, ASCENSION HEALTH
    MASTER PENSION TRUST, CAZ
    HALCYON OFFSHORE STRATEGIC
    OPPORTUNITIES FUND, L.P., BROWN
    UNIVERSITY, HCN LP, HALCYON
    EVERSOURCE CREDIT LLC, HLF LP,
    HLDR FUND I NUS LP, HLDR I TE LP,
    HLDR FUND I UST LP, HALCYON
    VALLÉE BLANCHE MASTER FUND LP,
    BARDIN HILL EVENT-DRIVEN MASTER
    FUND LP, PRAETOR FUND I, A SUB


1
  The Debtors, and, where applicable, the last four digits of each of their respective tax identification numbers are, as
follows: Zohar III, Corp., (9612), Zohar II 2005-I, Corp. (4059), Zohar CDO 2003-1, Corp., (3724), Zohar III, Limited
(9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is c/o FTI
Consulting, Inc., 1166 Avenue of the Americas, 15th Floor, New York, NY 10036.



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 FUND OF PRAETORIUM FUND I ICAV,
 HIRTLE CALLAGHAN TOTAL RETURN
 OFFSHORE FUND LIMITED, HIRTLE
 CALLAGHAN TOTAL RETURN
 OFFSHORE FUND II LIMITED, HIRTLE
 CALLAGHAN TRADING PARTNERS, L.P.,
 AND THIRD SERIES OF HDML FUND I
 LLC,

                     Appellee.


     ORDER APPROVING APPEARANCE PURSUANT TO LOCAL RULE 83.5(f)(2)

        This matter coming before the Court upon the application of John W. Weiss of Pashman

Stein Walder Hayden, P.C., to appear in the above-captioned case on behalf of U.S. Bank National

Association, solely in its capacity as trustee (“U.S. Bank”) under the: (i) Indenture, dated as of

November 13, 2003, among Zohar CDO 2003-1, Limited (“Zohar I”), Zohar CDO 2003-1 Corp.,

Zohar CDO 2003-1, LLC, MBIA Insurance Corporation, as credit enhancer (“MBIA”), CDC

Financial Products Inc. and U.S. Bank, as trustee; (ii) Indenture, dated as of January 12, 2005,

among Zohar II 2005-1 Ltd. (“Zohar II”), Zohar II 2005-1, Corp., Zohar II 2005-1, LLC, MBIA,

IXIS Financial Products Inc., and LaSalle Bank National Association, as predecessor trustee; and

(iii) Indenture, dated as of April 6, 2007, among Zohar III, Limited (“Zohar III”), Zohar III, Corp.,

Zohar III, LLC, Natixis Financial Products, Inc., and LaSalle Bank National Association, as

predecessor trustee (collectively, the “Indentures”), pursuant to Rule 83.5(f)(2) of the Local Rules

of Civil Practice and Procedure of the United States District Court for the District of Delaware (the

“Local Rules”); and the Court having reviewed the application and determined that the relief

sought is appropriate; it is hereby




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         ORDERED, that John W. Weiss may appear in the above-captioned cases pursuant to

Local Rule 83.5(f)(2).

Dated:                    , 2022
         Wilmington, Delaware            THE HONORABLE THOMAS AMBRO
                                         UNITED STATES DISTRICT COURT JUDGE




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